         Case 1:22-cr-00673-LAK Document 422 Filed 03/27/24 Page 1 of 1
                                          U.S. Department of Justice
[Type text]
                                           United States Attorney
                                           Southern District of New York

                                           The Silvio J. Mollo Building
                                           One Saint Andrew’s Plaza
                                           New York, New York 10007


                                           March 27, 2024

BY ECF
The Honorable Lewis A. Kaplan.
United States District Court Judge
Southern District of New York
United States District Court
500 Pearl Street, Room 2240
New York, New York 10007

   Re:   United States v. Samuel Bankman-Fried, 22 Cr. 673 (LAK)

Dear Judge Kaplan,

      Accompanying this letter, the Government has attached an additional victim
impact statement numbered 118. This victim impact statement contains limited
redactions pertaining to personal identifying information.

                                     Very truly yours,

                                     DAMIAN WILLIAMS
                                     United States Attorney


                                 By:       /s/Danielle Kudla
                                       Nicholas Roos
                                       Danielle R. Sassoon
                                       Samuel Raymond
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